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                   EXHIBIT 5
Case 4:22-cv-11009-FKB-DRG ECF No. 157-6, PageID.4963 Filed 06/20/25 Page 2 of 3




           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF MICHIGAN


  ESTATE OF GEORGE
  BERNARD WORRELL, JR.

        Plaintiff,
                                             Case No. 4:22 cv 11009
  v.
                                             Hon. F. Kay Behm
  THANG, INC., GEORGE
  CLINTON, SONY MUSIC                        Hon. Mag. David R. Grand
  ENTERTAINMENT, UNIVERSAL
  MUSIC GROUP, WARNER
  BROTHERS RECORDS, HDH
  RECORDS, WESTBOUND
  RECORDS AND SOUND
  EXCHANGE, INC.

        Defendants,


 DANIEL D. QUICK (P48109)                    JAMES P. ALLEN, Sr. (P52885)
 Dickinson Wright PLLC                       Allen Brothers, Attorneys and
 Attorneys for Plaintiff                     Counselors, PLLC
 2600 W. Big Beaver Road, Suite 300          Attorneys for Defendants Thang
 Troy, MI 48084                              Inc. and George Clinton
 (248) 433-7200 // Fax (844) 670-6009        401 N. Main St.
 dquick@dickinsonwright.com                  Royal Oak, MI 48067
                                             313-962--7777
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                       Expert Report of Dr. Ellen Exner




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        48. Worrell is credited with inventing the electronic “clap” track and using
 synthesizers to play bass lines. His conservatory training in European classical
 repertory, composition, and arranging allowed for the “elaborately layered horn and
 vocal lines” Vincent describes, as well as the successful, coherent synthesis of
 European styles with African grooves within a large ensemble. Worrell’s innate
 creativity paired with his highly skilled and trained musical mind were the glue that
 held P-Funk’s extraordinarily varied influences together and allowed them to
 become their own, unmistakable entity.

        49. Clinton is quoted as having said, “We took our funk and rock and roll
 and put Bernie’s chops in it, and we had something nobody knew what the hell we
 were doing.” (Clinton Depo at 108: 21-24). Worrell’s technical and stylistic
 virtuosity were among the signature features that differentiated P-Funk from all of
 their peers. He was artistically essential to the group’s success.

       50. George Clinton did not act alone and immeasurably benefited from
 being in Parliament-Funkadelic with Worrell.

                                 SUPPLEMENTATION:

         51. I reserve the right to use all materials considered in preparing this
 report, including without limitation the materials set forth in the foregoing sections
 at trial. Additional reports and depositions of experts and other witnesses may be
 conducted in this matter and I plan on reviewing their deposition transcripts when
 they become available and reserve the right to supplement or amend this report upon
 my review. I reserve the right to supplement or modify this report and the opinions
 expressed based upon additional facts, documents, or other materials that may be
 brought to my attention.

                                        FEES:

       52. My fee to draft this initial report is $2500.00. My hourly rate for
 deposition and trial testimony is $500.00 per hour plus travel costs.

                                WORKS CONSULTED:

 Aaron, Charles and Mosi Reeves. “10 Essential Tracks from the P-Funk
 Keyboardist,” in Rolling Stone, 24 June 2016,
 https://www.rollingstone.com/music/music-lists/bernie-worrell-10-essential-tracks-
 from-the-p-funk-keyboardist-25062/funkadelic-free-your-mind-and-your-ass-will-
 follow-1970-162689/. Accessed 14 March 2019.
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